           Case 1:18-cv-12462-IT Document 22-1 Filed 12/07/18 Page 1 of 3


From:            Povich, Ilissa Kimball
To:
Cc:              Imparato, Anne-Valerie; Amelia Schmidt
Subject:         RE: FAS 08-13-18 interview request
Date:            Thursday, November 29, 2018 12:18:51 PM


Hi
 
Thanks for your email. We will be in touch shortly about arranging an appropriate time for an
interview. 
 
Best,
Ilissa
 
Ilissa Povich
ODR Senior Investigator
x6-5719
 
From:                      <                      college.harvard.edu>
Sent: Thursday, November 29, 2018 11:38 AM
To: Povich, Ilissa Kimball <ilissa_povich@harvard.edu>
Cc: Imparato, Anne-Valerie <annevalerie_imparato@harvard.edu>; Amelia Schmidt
<ASchmidt@kaiserdillon.com>
Subject: Re: FAS 08-13-18 interview request
 
Ilissa,
 
Thank you for your email, and I’m sorry that it took me a couple of days to get back to you.  I had a
paper due on Tuesday I was working on all day, and you may have heard that Amelia, Bill, and Justin
filed an emergency motion late yesterday that asks a court to order Harvard not to move forward
with the Title IX investigation.  They agreed with the points I made in my November 7 response that
it is wrong and unfair for Harvard to proceed with the investigation under the circumstances—and
that, given everything that’s at stake for my future, it’s worth asking a judge to order the school not
to proceed.
 
But even if that hadn’t happened last night, I unfortunately still wouldn’t be able to meet tomorrow,
because I am going to be out of town tomorrow and through the weekend.  I also have an exam and
a presentation next week—and that’s all before the reading period begins next Thursday.  And I
don’t know when the judge is going to rule on the motion my lawyers filed.  Will ODR stay the
investigation at least until she does rule on it?  Between that and the exams I have coming up, I
would really appreciate it if ODR would at least agree to postpone my interview.  Please let me know
if you’d be able to do that.
 
Thank you very much, 

 
         Case 1:18-cv-12462-IT Document 22-1 Filed 12/07/18 Page 2 of 3


On Tue, Nov 27, 2018 at 12:01 PM Povich, Ilissa Kimball <ilissa_povich@harvard.edu> wrote:

  Dear
   
  I am following up on my email below to see if you would be willing to participate in an interview
  with ODR to discuss the allegations in the complaint and any additional material information that
  we have learned from the Complainant. Please let me know whether you would be willing to
  participate in this interview as part of ODR’s investigatory process, and if so, if you would be
  available on Wednesday, November 28 during any 2-1/2 hour period between  noon and 5:00
  p.m.  or on Friday, November 30 during any 2-1/2 hour period between noon and 5:00 p.m. The
  interview will be held in our offices on the 2nd Floor of  44R Brattle Street. You are welcome to
  have a personal advisor attend either in person or by telephone.
   
  Please let me know if you have any questions.
   
  Best,
  Ilissa
   
  Ilissa Povich
  ODR Senior Investigator
  x6-5719
   
  From: Povich, Ilissa Kimball
  Sent: Friday, November 16, 2018 9:01 AM
  To:                      <                     college.harvard.edu>
  Cc: Imparato, Anne-Valerie <annevalerie imparato@harvard.edu>; Amelia Schmidt
  <ASchmidt@kaiserdillon.com>
  Subject: FAS 08-13-18 interview request
   
  Dear
   
  I am writing to request an interview with you, as Respondent, under subsection iii of the
  Procedures Concerning Alleged Harassment by Students included in the FAS Policy and
  Procedures. In that interview, I would discuss with you the allegations that are included in the
  complaint and any additional material information that we have learned from interviewing the
  Complainant. I anticipate that the interview would last approximately 2-1/2 hours. Please let me
  know whether you would be willing to participate in this interview as part of ODR’s investigatory
  process, and if so, if you would be available on Tuesday, November 20 during any 2-1/2 hour
  period between  9:00 a.m. and 5:00 p.m. The interview will be held in our offices on the 2nd Floor
  of  44R Brattle Street. You are welcome to have a personal advisor attend either in person or by
  telephone.
   
  Please let me know if you have any questions.
   
  Best,
          Case 1:18-cv-12462-IT Document 22-1 Filed 12/07/18 Page 3 of 3


    Ilissa
     
    Ilissa Povich
    ODR Senior Investigator
    Harvard University
    Office for Dispute Resolution (ODR)
    44R Brattle Street, 2nd Floor
    Cambridge, Massachusetts 02138
    Tel: (617) 496-5719;  Fax: (617) 496-5641
    http://odr.harvard.edu/
     
    This message is intended for the designated recipient(s). It may contain confidential or proprietary
    information and may be subject to confidentiality protections. If you are not a designated
    recipient, you may not review, copy or distribute this message or any information it contains. If
    you receive this in error, please notify the sender by reply e-mail and delete this message. Thank
    you.
     
    Directions: The Office for Dispute Resolution is located at 44R Brattle Street, which is down the
    walkway that is across from the intersection of Church and Brattle Streets. When heading down
    the walkway, you will see 44 Brattle, then the Harvest restaurant; our office is next door at 44R
    Brattle.
     
    Pronouns: she, her, hers
     

 
